TRICT COURT
UNIT] STATES ELORADO
\ OCT 23 20v4 IN THE UNITED STATES DISTRICT COURT
WELL FOR THE DISTRICT OF COLORADO
JEFFREY P. COL TERK Judge Christine M. Arguello
iL
) CASE NUMBER:
4 UNITED STATES OF AMERICA )
5 ) 13-cr-00392-— OWA
Plaintiff, )
6 ) MANDITORY JUDICIAL NOTICE
v. )
7 ) MOTION TO TERMINATE COUNSEL
8 JOHN J PAWELSKI ) REPRESENTATION, SUBPEONA
) ORDERS, AND INVESTIGATOR
9 Defendant. )
10 )
11
COMES NOW, John Joseph Pawelski , “state” Citizen / "national’ 8 USC
3 1101(a)(21) as a third party of interest in regard to this instant matter in this court of
4 record, a real flesh and blood man of the age of majority, by Special Attendance,
Reserving All Rights, without accepting the SURETY for the Government created all-
15
capital legal entity “JOHN J PAWELSKI ” (Debtor), government registered agent, a trust,
16 and ward of the government.
17
18 MOTION TO TERMINATE COUNSEL REPRESENTATION, SUBPEONA ORDERS
19 AND INVESTIGATOR
20 |, John Joseph Pawelski “state” Citizen / “national” 8 USC 1101(a)(21),
91 | hereinafter, comes before the court of law by Special Attendance without accepting any
9 jurisdiction, reserving all rights under UCC 1-308. John Joseph Pawelski moves and
73 demands the court of law to allow John Joseph Pawelski to terminate counse
34 representation, whether appointed or on standby.
25 . .
John Joseph Pawelski, hereby moves and demands this Court of law to be able
26 to attend as a man seeking to protect his unalienable rights as a “state” Citizen /
27! “national” 8 USC 1101(a)(21), not a US citizen. On October 21, 2014, John Joseph
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Pawelski, mailed an “Affidavit of Truth” and “Affidavit of Nationality to the U.S. District
court clerk to be added to the record to notify the Court of my nationality and

possessing full unalienable rights.

John Joseph Pawelski, does not consent to a public defender as an attorney
under any circumstance, even by standby and hereby gives refusal for court to commit
any such act, either with or without my knowledge. Having an attorney would
compromise my unalienable rights that were granted by the Divine Creator and

diminish my standing to a ward of the court and allege me incompetent, i.e., thereby

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unable to be “heard” by the Judge.

 

See Corpus Juris Secundum (C.J.S.) legal encyclopedia, volume 7 § 4, it states:
§4 ATORNEY & CLIENT:
7 CJS.

“His first duty is to the courts and the public, not to the client: and
whenever the duties to his client conflict with those he owes as an officer
of the court in the administration of justice, the former must yield to the
latter.”

§§ 2-3 ATTORNEY & CLIENT

7 CJS.

“A client is one who applies to a lawyer or counselor for advice and
direction in a question of law, or commits his cause to his management in
prosecuting a claim or defending against a suit in a court of justice?’ one
who communicates facts to an attorney expecting professional advice”?
clients are also called “wards of the court’.” “In propria persona /in
prowpriya persowna /. “In one’s own proper person”. It was formerly a rule
in pleading that pleas to the jurisdiction, as an attorney is an officer of the
court, and he is presumed to plead after having obtained leave, which

admits the jurisdiction’.

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Having counsel upon John Joseph Pawelski would cause irreparable harm and
damage because it trespasses upon his unalienable rights that are endowed by the
Divine Creator. By John Joseph Pawelski to have counsel essentially makes John
Joseph Pawelski a ward of the court of law and this can never be rectified. Therefore,
until jurisdiction is proven and perfected by Plaintiff, John Joseph Pawelski as General
Executor of this matter moves and demands the court of law allow him the opportunity
to defend his unalienable rights that were endowed by the Divine Creator without

impedance by appointing counsel and court procedures.

JUDICIAL NOTICE: John Joseph Pawelski does not consent to the Prosecutor
representing John Joseph Pawelski in the flesh to make any accusations or any

veiled representation to act in John Joseph Pawelski behalf.

John Joseph Pawelski hereby cancels the orders for subpoenas issued by the court

from the October 6 hearing, and the investigator requested

John Joseph Pawelski MOVES and demands this court of to grant this MOTION TO
TERMINATE COUNSEL REPRESENTATION, SUBPEONA ORDERS, AND
INVESTIGATOR.

Conclusion
Because the plaintiff has failed to enter any facts that the court has any authority over
me, let it be known that the plaintiff will now hereby be acting in direct violation of the
Colorado Constitution if | am forced to continue to participate in this process to prevent
entering into a state of dishonor. As such, the court should either strike any complaint

filed against me, or dismiss it with prejudice.

Dated this 22nd day of October 2014

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_Aohn Joseph Pawelski “state” Citizen

 

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CERTIFICATE OF SERVICE
I certify that a true copy of the foregoing motion to terminate counsel representation, subpoena

orders, and investigator was delivered via First Class Mail on this 22nd day of October 2014 to

the Clerk of the Court, which will send notification of such filing to all counsel of record.

Respectfully Submitted,

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John Joseph Pawelski
6432 Rockville Drive

Colorado Springs, Colorado
(719) 660-8003,

 

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